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                          IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE



UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
           V.                                    )       Criminal Action No. 17-17 LPS
                                                 )
PAUL HURSEY,                                     )
                                                 )
                       Defendant.                )



           GOVERNMENT'S AMENDED SENTENCING MEMORANDUM

      In its Sentencing Memorandum (Docket Item 36), the government requested an upward

variance from the applicable guideline range (30-37 months).

     This is to provide notice that the government withdraws its request for a variance.   The

government recommends a sentence of 37 months incarceration.


                                                         DAVID C. WEISS




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Dated:   tl-(...(, 7
